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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


 THE ARC OF IOWA et al.,                         Case No. 4:21-CV-00264-RP-SBJ

 Plaintiffs,

 v.                                              DEFENDANTS GOVERNOR
                                              KIM REYNOLDS AND ANN LEBO’S
 KIM REYNOLDS, in her official                     UNRESISTED MOTION
 capacity as Governor of Iowa, et al.             TO STAY PROCEEDINGS

 Defendants.


       COME NOW Defendants Governor Kim Reynolds and Ann Lebo (collectively,

“the State”) and move to stay these proceedings until the issuance of the mandate

from the United States Court of Appeals for the Eighth Circuit in our pending

interlocutory appeal. In support of this motion, the State pleads as follows:

       1.      The State has appealed this court’s order granting Plaintiffs’ motion for

a preliminary injunction to the United States Court of Appeals for the Eighth Circuit.

       2.      Today, the Eighth Circuit granted the State’s motion to expedite the

appeal, setting an expedited briefing schedule and scheduling the case for oral

argument in Omaha, Nebraska, the week of November 15, 2021. The State has also

requested that the Eighth Circuit expedite issuance of its decision in the appeal.

       3.      Staying proceedings in this court—including holding in abeyance all

deadlines, such as the deadline for defendants to answer or file a motion to dismiss

under Rule 12(b)(6)—will conserve party resources while they focus on briefing and

preparing for oral argument on the expedited schedule.
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      4.     Staying the proceedings will also promote judicial economy because the

Eighth Circuit’s decision on the appeal may provide guidance to this Court and the

parties that could affect the filing and consideration of motions to dismiss or other

matters.

      5.     The State would propose staying proceedings in this Court and holding

in abeyance all deadlines until the issuance of the mandate from the Eighth Circuit

in the interlocutory appeal.

      6.     This stay of proceedings would not stay or otherwise affect the

preliminary injunction already ordered by this Court.

      7.     Counsel for Plaintiffs have indicated that they do not object to this

motion.

      WHEREFORE, Defendants Governor Kim Reynolds and Ann Lebo request

that this Court stay proceedings and hold all deadlines in abeyance until the issuance

of the mandate from the Eighth Circuit.

                                       Respectfully submitted,

                                       THOMAS J. MILLER
                                       Attorney General of Iowa

                                       JEFFREY S. THOMPSON
                                       Solicitor General

                                       /s/ Samuel P. Langholz
                                       SAMUEL P. LANGHOLZ
                                       Assistant Attorney General
                                       Iowa Department of Justice
                                       1305 E. Walnut Street, 2nd Floor
                                       Des Moines, Iowa 50319
                                       Phone: (515) 281-5164
                                       Fax: (515) 281-4209



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                             sam.langholz@ag.iowa.gov
                             jeffrey.thompson@ag.iowa.gov

                             ATTORNEYS FOR DEFENDANTS
                             GOVERNOR KIM REYNOLDS AND
                             ANN LEBO


                                                PROOF OF SERVICE
                               The undersigned certifies that the foregoing instrument was
                              served upon all parties of record by delivery in the following
                              manner on October 15, 2021:

                                 U.S. Mail                            Email
                                 Hand Delivery                        Overnight Courier
                                 Federal Express                      Other
                                 CM/ECF

                             Signature: /s/ Samuel P. Langholz




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